Case 2:18-cv-00590-APG-GWF Document 1-1 Filed 04/02/18 Page 1 of 12

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Case 2:18-cv-00590-APG-GWF Document 1-1 Filed 04/02/18 Page 2 of 12

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Steven D. Grierson

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DISTRICT COURT

CLARK COUNTY, NEVADA

ANNETTE L. STEBBINS, an individual;
Plaintiffs,

VS.

GEICO INSURANCE AGENCY INC., a
foreign corporation; DOE INDIVIDUALS 1
through 10; ROE CORPORATIONS 11
through 20; and ABC LIMITED
LIABILITY COMPANIES 21 through 30,
inclusive,

Defendants.

 

CASE NO_: A-18-769352-C

DEPT NO': Department 32

COMPLAINT

Plaintiff, ANNETTE L. STEBBINS, an individual, by and through her counsel, Brian D.

Nettles, Esq., Christian M. Morris, Esq., and Kylee L. Gloeckner, Esq., of the NETTLES LAW
FIRM, and for her causes of action against Defendant, GEICO INSURANCE AGENCY, INC.;

DOE INDIVIDUALS 1 through 10; ROE CORPORATIONS 11 through 20; and ABC

LIMITED LIABILITY COMPANIES 21 through 30, inclusive (Collectively referred to as

“Defendants”), hereby complain and allege as follows:

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Case Number: A-1B-769352-C

 

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GENERAL ALLEGATIONS

1. Plaintiff Annette L. Stebbins (hereinafter “Plaintiff’) is, and at all relevant times
was, an individual residing in Clark County, Nevada.

2. On information and belief, Geico Insurance Agency, Inc. (hereinafter
“Defendant”) is, and at all relevant times was, a foreign corporation and insurance company
authorized to write insurance policies in the State of Nevada.

3. On information and belief, the true names and capacities, Whether corporate,
associate, governmental or otherwise, of defendants designated herein as DOE INDIVIDUALS l
through 10; ROE CORPORATIONS ll through 20, and ABC LIMITED LIABILITY
COMPANIES 21 through 30, inclusive (Collectively referred to as “DOE/ROE!ABC
Defendants”), are unknown to Plaintiffs at this time, who therefore sues said Defendants by such
fictitious names. When the true names and capacities of said Defendants have been ascertained,
Plaintiff Will amend this Cornplaint accordingly.

4. On information and belief, DOE/ROE/ABC Defendants are responsible,
negligently, or in some other actionable manner, for the events and happenings hereinafter
referred to, and caused injuries and damages proximately thereby to Plaintiffs as hereinafter
alleged.

5. On information and belief, DOE/ROE/ABC Defendants were involved in the
initiation, approval, support or execution of the wrongful acts upon which this litigation lsi
premised, or of similar actions against Plaintiffs of which Plaintiffs are presently unaware.

6. On February 20, 2012, and at all times relevant hereto, Plaintiff was the
owner/operator cfa 2002 Acura TL (hereinafter “Plaintiff’s Vehicle”) in Clark County, Nevada.

7. On information and belief, on or about February 20, 2012, and at all times
relevant hereto, Herbert Wero was the operator and/or owner of a 2000 Dodge Ram 2500 with
Arizona license plate “885MNM,” (hereinafter “Mr. Wero’s vehicle”), and involved in the motor
vehicle collision referenced herein, in Clark County, Nevada.

8. On information and belief, on or about February 20, 2012, Plaintiff was traveling

northbound on 1-15 in the #4 travel lane, approaching a vehicle that was stopped. Al

 

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approximately the same time and place, Mr. Wero was operating his vehicle direct behind
Plaintiff’s Vehicle.

9. On information and belief, Plaintiff failed to stop and struck the vehicle that was
stopped in front of her in the travel lane.

10. On information and belief, Mr. Wero failed to decrease his speed and collided
with the rear of Plaintiff s Vehicle (hereinafter “Subj ect Crash”).

11. On information and belief, the force of the Subject Crash forced Plaintiff’s
Vehicle to impact the vehicle directly in front of it once more.

12. Mr. Wero caused the Subject Crash by failing to stop for the traffic ahead.

13. As a direct and proximate result of the negligence of Mr. Wero, Plaintiff has
suffered physical injury, as well as pain and suffering

14. Upon information and belief, on or about February 20, 2012, and at all times
relevant hereto, Mr. Wero’s insurance policy Was for coverage in the amount of $15,000.00 per
person and $30,000.00 per occurrence, and lacked sufficient insurance coverage to fully
compensate Plaintiff for her injuries.

15. Upon information and belief, on or about February 20, 2012, and at all times
relevant hereto, Plaintiff was the named insured on automobile policy 4210-66-17-59 issued by
Defendant (hereinafter “Geico Policy”).

16. Plaintiff s Geico Policy contained a provision for uninsured motorist coverage in
the amount of $100,000.00 per person and $300,000.00 per occurrence

17. To date, Plaintiff has incurred medical expenses in excess of $15,000.00.

18. Despite the amount of Plaintiff’s expenses, and receipt of medical records to
prove the amount, Defendant refuses to authorize an appropriate settlement that Would fully
compensate the Plaintiff for her losses.

19. Plaintiff s prior counsel first contacted Defendant regarding the uninsured
motorist coverage in December, 2012.

20. Defendant failed to offer a reasonable settlement offer in response to receiving

medical records relating to Plaintiff s injuries

 

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21. Defendant’s offer of $2,500 for Plaintiff s injuries is well below what is mandated
by the Geico Policy to compensate Plaintiff for her losses.

22. Defendant determined a value on Plaintiff's claim for benefits under the Geico
Policy to be an amount at or below $2,500.00.

23. As a direct and proximate result of the actions or omissions of Defendant,
Plaintiff has had to retain the services of the law offices of Nettles Law Firm to pursue this action
and is entitled to recover costs of suit and reasonable attorney’s fees incurred herein.

FIRST CAUSE OF ACTION
(Breach of Contract)

24. Plaintiff repeats and realleges each and every allegation contained in paragraphs l
through 23 as though fully set forth herein.

25. Upon information and belief, on or about February 20, 2012, and at all times
relevant hereto, a valid contract, the Geico Policy, existed between Plaintiff and Defendant;
wherein Defendant would provide uninsured motorist coverage in the amount of $100,000.00 per
person and $300,000.00 per occurrence

26. Upon information and belief, on or about February 20, 2012, Plaintiff had fully
performed all of her duties under the Geico Policy.

27. Upon information and belief, on or about February 20, 2012, Mr. Wero lacked
sufficient insurance coverage to compensate Plaintiff for her injuries, and thus was an uninsured
motorist as defined in the Geico Policy,

28. Defendant breached the Geico Policy by, among other things, refusing to fully
compensate Plaintiff under the uninsured coverage provisions

29. As a direct and proximate result of Defendant’s breach of the Geico Policy,
Plaintiff is entitled to recover damages in excess of $15,000.00.

30. As a direct and proximate result of Defendant’s breach of the Geico Policy,
Plaintiff has had to retain the services of the law offices of Nettles Law Firm to pursue this
action, and, as such, is entitled to recover costs of suit and reasonable attorney’s fees incurred

herein.

 

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SECOND CAUSE OF ACTION

(Contractual Breach of Implied Covenant and Good Faith and Fair Dealing)

31. Plaintiff repeats and realleges each and every allegation contained in paragraphs 1
through 30 as though fully set forth herein.

32. In Nevada, implied in every contract, including the Geico Policy, is a covenant oi
good faith and fair dealing that requires the parties to act fairly and in good faith with each other.

33. Defendant breached its duty of good faith and fair dealing by, among other things,
refusing to fully compensate Plaintiff under the uninsured coverage provisions.

34. As a direct and proximate result of Defendant’s breach of the implied warranty of
good faith and fair dealing, Plaintiff is entitled to recover damages in excess of 815,000.00.

35. As a direct and proximate result of Defendant’s breach of the implied warranty oi
good faith and fair dealing, Plaintiff has had to retain the services of the law offices of Nettles
Law Firrn to pursue this action, and, as such, is entitled to recover costs of suit and reasonable
attorney’s fees incurred herein.

THIRD CAUSE OF ACTION
(Tortious Breach of Implied Covenant of Good Faith and Fair Dealing)

36. Plaintiff repeats and realleges paragraphs 1 through 35 as though fully set forth
herein.

37. Implied in every contract in the State of Nevada is a covenant of good faith and
fair dealing that requires the parties to act fairly and in good faith with each other.

38. Defendant owed a duty of good faith to Plaintiff.

39. There Was a special element of reliance between Plaintiff and Defendant where
Defendant was in a superior or entrusted position.

40. Defendant breached the Geico Policy by, among other things, refusing Plaintiff
the compensation due under the uninsured coverage provisions and by unreasonably
undervaluing Plaintiff"s claims, and by placing its own interests above those of Plaintiff.

41. Plaintiff’s justified expectations were thus denied.

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Case 2:18-cv-00590-APG-GWF Document 1-1 Filed 04/02/18 Page 7 of 12

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42. Plaintiff has been damaged by Defendant’s breaches of the implied covenant of
good faith and fair dealing in an amount in excess of $15,000.00.

43. Plaintiff has been required to retain the services of counsel to prosecute this
matter, and, as such, is entitled to an award of costs and reasonable attomeys’ fees incurred
herein.

44. As Defendant’s tortious breaches of the implied covenant of good faith and fair
dealing was oppressive, fraudulent and/or malicious, Plaintiff is entitled to punitive and/or
exemplary damages

FOURTH CAUSE OF ACTION
(Unfair Pi'actices in Settling Claims)

45. Plaintiff repeats and realleges each and every allegation contained in paragraphs 1
through 44 as though fully set forth herein.

46. Defendant has violated several provisions of Nev. Rev. Stat. § 686A.310 by,
among other things, failing to acknowledge and act with reasonable promptness in response to
communications from Plaintiff, and failing to effectuate prompt, fair and equitable settlements of
Plaintiff’s claims

47. Plaintiff has been damaged by Defendant’s unfair practices in an amount in
excess of $15,000.00.

48. Plaintiff has been required to retain the services of counsel to prosecute this
matter, and, as such, is entitled to an award of costs and reasonable attomeys’ fees incurred
herein.

FIFTH CAUSE OF ACTION
(Declaratory Reliei')

49. Plaintiff repeats and realleges each and every allegation contained in paragraphs 1
through 48 as though fully set forth herein.

50. Under Nev. Rev. Stat. § 30.010 et seq., the Uniform Declaratory Judgment Act,
any person interested under a written contract or other writings constituting a contract, or whose

rights, status or other legal relations are affected by a contract, may have determined any

 

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questions of construction or validity arising under the contract and obtain a declaration of rights,
status or other legal relations thereunder.

51. A justiciable controversy exists, as the Plaintiff has asserted claims of right to
indemnification for her losses from Defendant, and Defendant has an interest in contesting
Plaintiff’s claims of right.

52. Plaintiff has a legally-protectable interest in the controversy, i.e., her right to

indemnification from the Defendant.

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53. The issue involved in the controversy is ripe for judicial determination because

9 there is substantial controversy, among parties having adverse legal interests, of sufficient
10 immediacy and reality to warrant the issuance of a declaratory judgment
11 54. Accordingly, the Plaintiff requests a declaratory judgment that Defendant owes
12 her a duty to indemnify her on her uninsured claim.
13 55. Plaintiff has been required to retain the services of counsel to prosecute this

14 matter, and, as such, is entitled to an award of costs and reasonable attomeys’ fees incurred

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6.
DATED this 1 Wilay of February, 2018.

For damages in excess of 815,000.00;

2. For punitive and/or exemplary damages;
3. F or interest as permitted by law;
4.
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. For costs and attomeys’ fees; and

For a declaratory judgment;

WHEREFORE, Plaintiff prays for relief against Defendant as follows:
1.

F or such other and further relief as the Court deems proper.

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Case 2:18-cv-00590-APG-GWF Document 1-1 Filed 04/02/18 Page 10 of 12

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DISTRICT COURT

CLARK COUNTY, NEVADA

ANNETTE L. STEBBINS, an individual;
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VS.

GEICO INSURANCE AGENCY INC., a
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LIABILITY COMPANIES 21 through 30,
inclusive,

Defendants.

 

 

CASE NO.: A-18-769352-C
DEPT NO.: 32

PRO()F OF SERVICE

Case Number: A-18-769352-C

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Case 2:18-cv-00590-APG-GWF Document 1-1 Filed 04/02/18 Page 12 of 12

l PROOF OF SERVICE
2 1 hereby declare that on this day 1 served a copy of the Sunimons and Coniplaint upon

4 return receipt requested, to the following:

 

 

5 Geico lnsurarice Agency, lnc.
Attn: Company Licerising
6 5260 Western Ave.
Chevy Chase, MD 20815-3701
7 CERTIFIED MAIL NO. 7016 3010 0000 0486 3074
8 ldeclai'e, under penalty of perjury, that the foregoing is true and correct
9 DATED this 2““ day of March, 2018.
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1 l
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12 RHoNDA KELLY O
Employee of the State of Nevada
13 Depai'tment of Business and Industry
Division of Insurance
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15 RE: Annette L. Stebbins vs. Geico lnsiirance Agency, lnc., et al.
Dislricl Court, Clark County, Nevada

16 Case No. A-18~769352~C
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3 the following defendant in the within matter, by shipping a copy thereof`, via Certified mail,

 

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